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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Tomas Medina,
STIPULATION AND
Plaintiff ORDER OF DISMISSAL

-against-
19 Civ. 9412 (AJN) (OTW)
City of New York, Commissioner James O’Neill, Chief Of Dep’t
Terrance Monahan, Sgt. Hekmatullah Mukhtarzada, Det. Fabio
Nunez, PO Shanee (Pierce) Hansler, PO David Callan, Capt.
William Gallagher, Sgt. Jose A. Gomez, PO Nay Htoo, PO
Christopher Siciliano, & PO John Doe,

Defendants.
xX

 

WHEREAS, the parties have reached a settlement agreement and now desire to
resolve the remaining issues raised in this litigation, without further proceedings and without
admitting any fault or liability;

Now, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between the undersigned, that

l. The above-referenced action is hereby dismissed with prejudice; and
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2. Notwithstanding the dismissal of this action, the District Court shall continue to

retain jurisdiction over this action for the purpose of enforcing the terms of the settlement

agreement reached between the parties and set forth in the Stipulation of Settlement executed by

the parties in this matter.

Dated: New York, New York
July 20, 2021

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ays Gu Wh.

James M/ Moschella, Esq.

 

SO ORDERED:

 

HON. ALISON J. NATHAN
UNITED STATES DISTRICT JUDGE

Dated: . 2021
